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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
BANCO SAN JUAN INTERNACIONAL, INC.,

                       Plaintiff,                 23-cv-6414 (JGK)

             - against -                          OPINION AND ORDER

THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL.,

                     Defendants.
 ────────────────────────────────────
JOHN G. KOELTL, District Judge:

     The plaintiff, Banco San Juan Internacional, Inc. (“BSJI”),

a Puerto Rico International Banking Entity, brought this action

against the defendants, the Federal Reserve Bank of New York

(“FRBNY”) and the Board of Governors of the Federal Reserve

System (“Board”), alleging that the defendants wrongfully

terminated BSJI’s master account with the FRBNY (the “Master

Account”).

     Alleging that this account closure violated various federal

laws, BSJI seeks relief against the FRBNY and the Board pursuant

to the Administrative Procedure Act (“APA”), the Mandamus Act,

the Declaratory Judgment Act (“DJA”), and the Due Process Clause

of the Fifth Amendment. In addition, BSJI alleges that the FRBNY

breached a contractual duty of care and an implied covenant of

good faith and fair dealing when the FRBNY terminated BSJI’s

Master Account.



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     Central to this dispute, the parties adopt differing

interpretations of the Federal Reserve Act (“FRA”). BSJI argues

that it has a right to a master account pursuant to 12 U.S.C. §

248a. The defendants disagree and contend that pursuant to 12

U.S.C. § 342, the FRBNY “may” grant a master account to a

depository institution but is not required to do so.

     Both the FRBNY and the Board now move to dismiss the

Amended Complaint pursuant to Rules 12(b)(1) and 12(b)(6) of the

Federal Rules of Civil Procedure. Because the defendants’

interpretation of the FRA is correct, and for the additional

reasons explained below, BSJI’s claims are dismissed without

prejudice.

                        I. Factual Background

     Unless otherwise noted, the following facts are taken from

the Amended Complaint (“AC”), ECF No. 124, and are accepted as

true for purposes of the present motions to dismiss.

                             A. The Parties

     The Federal Reserve System was established in 1913 by the

Federal Reserve Act, codified at 12 U.S.C. §§ 221 et seq. The

system consists of the Board, the Federal Open Market Committee

(“FOMC”), and twelve regional Federal Reserve banks. § 222. The

regional Federal Reserve banks serve financial institutions in

their respective districts. Id.



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                               1. The FRBNY

      Federal Reserve banks, including the FRBNY, are federal

instrumentalities incorporated as private corporations pursuant

to the FRA. 12 U.S.C. §§ 221 & 341; United States ex rel. Kraus

v. Wells Fargo & Co., 943 F.3d 588, 592 (2d. Cir. 2019)

(“Kraus”).1 Congress has authorized the Federal Reserve banks to

carry out certain banking functions. §§ 341–61. In relevant

part, Congress vested in the Federal Reserve banks the authority

to accept or reject deposits from depository institutions. §

342. Section 342 of the FRA provides that “[a]ny Federal Reserve

bank may receive from any of its member banks, or other

depository institutions . . . deposits of current funds in

lawful money . . . .” Id.

      Federal Reserve banks maintain such deposits in accounts

called “master accounts” held in the name of the depository

institutions. AC ¶ 2. As deposit accounts, master accounts are

governed by 12 U.S.C. § 342. A master account grants the account

holder direct access to Federal Reserve bank services. See AC ¶

2; Fed. Res. Banks, Operating Circular No. 7, Fedwire®

Securities Serv. ¶ 5.1 (eff. May 1, 2024) (“OC 7”). Depository

institutions without master accounts may access such services by

setting up “a Correspondent – Respondent relationship” with a



1 Unless otherwise noted, this Opinion and Order omits all internal
alterations, citations, footnotes, and quotation marks in quoted text.

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correspondent bank that has a master account. Brennan Decl., Ex.

B at 6–8, ECF No. 132-2 (“Operating Circular 1” or “OC 1”).2 All

master account holders pay fees for Federal Reserve bank

services pursuant to the same fee schedule. See 12 U.S.C. §

248a; OC 7 ¶ 13.0.

      Federal Reserve banks issue Operating Circulars that govern

the relationship between a Federal Reserve bank and a master

account holder. See, e.g., OC 1; OC 7. Pursuant to the terms of

Operating Circular 1, account holders create a master account by

executing a master account agreement (“MAA”) with their regional

Federal Reserve bank. OC 1; Brennan Decl., Ex. A, ECF No. 132-1

(BSJI’s MAA). By incorporating “the provisions of Operating

Circular 1” and related documents, the MAA sets the terms under

which a depository institution can access, and the Federal

Reserve bank can operate, the depository institution’s master

account. Brennan Decl., Ex. A. These terms include the Federal

Reserve bank’s right to terminate a master account “at any

time.” OC 1 at 7.

      In addition to the terms set forth in Operating Circular 1,

a subset of high-risk account holders, including BSJI, agree to

enhanced risk-mitigation provisions. Brennan Decl., Ex. C,

ECF No. 132-3. For example, BSJI agreed that “to limit the Risks


2 Throughout this Opinion and Order, exhibit page numbers accompanied by a
star (*) refer to ECF-generated page numbers, and exhibit page numbers
unaccompanied by a star refer to the page numbers on the original documents.

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the Customer poses to [FRBNY], [FRBNY] may suspend or terminate

the Customer’s access to one or more Financial Services [or]

close the Customer’s Master Account . . . at any time by giving

written notice to the Customer.” Id. at 10. Risk, in this

context, “means the existence of, or the possibility of,

financial, legal, compliance, operational, reputational, or

other harm to the Bank . . . posed by the Customer.” Id. at 2.

                              2. The Board

     In contrast to the powers vested in the Federal Reserve

banks, the Board lacks the authority to provide banking

services. See, e.g., 12 U.S.C. §§ 342, 343, 347, 347c, 347d,

355(1). Instead, the Board provides guidance to and generally

oversees Federal Reserve bank activities, including with respect

to master accounts. § 248(j). However, in providing such

guidance, the Board is not authorized to open or terminate a

master account and does not handle the administration of any

institution’s master account. See §§ 248(j), 342. Rather, the

Board sets forth principles to guide “the level of due diligence

and scrutiny to be applied by reserve banks to different types

of institutions.” 87 Fed. Reg. 51109.

     In August 2022, after notice and comment, the Board

published Guidelines for Evaluating Account and Service Requests

(“Guidelines”) that involve any of six categories of risk. 87

Fed. Reg. 51099. The Board issued the Guidelines based on its

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general authority to supervise the operations of the Federal

Reserve banks. See 12 U.S.C. § 248(j). The Guidelines subject

institutions that are not federally insured and operate outside

the scope of the federal banking agencies’ supervisory framework

to the strictest level of review. 87 Fed. Reg 51110. Principle 5

of the Guidelines specifically directs that a Federal Reserve

bank’s “provision of an account and services to an institution

should not create undue risk to the overall economy by

facilitating activities such as money laundering, terrorism,

financing, fraud, cybercrimes, economic and trade sanctions

violations, or other illicit activity.” 87 Fed. Reg. 51109.

                                  3. BSJI

      Puerto Rican law provides for the establishment of

International Banking Entities (“IBEs”), Act No. 52 of 1989, and

International Financial Entities (“IFEs”), Act No. 273 of 2012.

BSJI is an IBE founded in 2011, AC ¶¶ 1, 20, 26, that opened its

Master Account with the FRBNY in April 2012, Brennan Decl., Ex.

F at 1–2, ECF No. 134–6. BSJI offers traditional banking

products and services as well as structured financial solutions

and products, with the aim of attracting United States and

foreign investors to Puerto Rico. AC ¶¶ 20, 26.3




3 On December 12, 2024, counsel for BSJI represented that as of that date,
BSJI had ten open accounts with $20,000 in total assets. Transcript 15, ECF
No. 148.

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      BSJI does not have federal deposit insurance or a

prudential federal supervisor. Brennan Decl., Ex. F at 1–2.

Rather, BSJI is licensed and regulated by the Office of the

Commissioner of Financial Institutions of Puerto Rico (“OCIF”).

AC ¶ 20; see also id. ¶ 78. BSJI is therefore subject to the

strictest level of review under the Board’s Guidelines and must

adhere to the FRBNY’s Account and Financial Services Handbook

(the “Handbook”). Brennan Decl., Ex. F at 1–2. For continued

master account access, BSJI must demonstrate that it has

implemented an effective compliance program through “the

submission of independent consultants’ assessment reports of

BSJI’s compliance program” that meet the Handbook’s

requirements. Id.

                              B. The Dispute

                      1. Master Account Suspension

      In February 2019, the Federal Bureau of Investigation

(“FBI”) searched BSJI’s offices and the Government subsequently

seized over $53 million from BSJI and related accounts.4 The

Government then brought a civil forfeiture action against BSJI

and further investigated BSJI’s compliance with the Bank Secrecy




4 U.S. Dep’t of Just., Bank of San Juan Internacional, Inc. and the U.S.
Att’y’s Off. for the Dist. Of P.R. Resolve Pending Litig. and Related Matters
(Feb. 11, 2020), https://www.justice.gov/usao-pr/pr/bank-san-juan-
internacional-inc-and-us-attorney-s-office-district-puerto-rico-resolve
(“USAO-PR Press Release”).

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Act (“BSA”). USAO-PR Press Release. Shortly thereafter, the

FRBNY temporarily suspended BSJI’s Master Account. AC ¶ 71.

     Following the temporary suspension, in April 2019, BSJI

retained a team at FTI Consultants (“FTI”) to assess and improve

BSJI’s BSA and anti-money laundering (“AML”) compliance

programs. Id. ¶¶ 75, 78. In July 2019, the FRBNY informed BSJI

that it would consider providing BSJI limited access to the

FRBNY’s services once BSJI convinced the FRBNY that no

sanctioned or otherwise illicit transactions were, or would be,

processed through BSJI’s accounts at the FRBNY. Id. ¶ 82.

     On February 11, 2020, the Government announced that BSJI

had agreed to pay a fine and improve its AML policies. USAO-PR

Press Release. Two days later, BSJI met with the FRBNY. Id. ¶

87. At that meeting, the FRBNY told BSJI that the FRBNY intended

to impose new master account-related obligations on all IBEs,

allegedly observing that BSJI would be well-positioned to meet

the new obligations because of BSJI’s proactive steps. Id.

     On March 16, 2020, BSJI and the FRBNY executed the

“Supplemental Terms.” The Supplemental Terms required enhanced

risk-mitigation measures and reconfirmed the FRBNY’s right to

close BSJI’s account. Brennan Decl., Ex. C at *11, *14.

Specifically, BSJI agreed as follows:

          In addition to the Bank’s rights under OC 1
          and other operating circulars, to limit the
          Risks the Customer poses to the Bank, the Bank

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          may suspend or terminate the Customer’s access
          to one or more Financial Services, close the
          Customer’s Master Account, impose conditions
          that must be satisfied before the Bank will
          process certain or all types of Financial
          Services   transactions,    or   restrict   or
          otherwise adopt risk-management measures with
          respect   to   Financial   Services   or   the
          Customer’s Master Account at any time by
          giving written notice to the Customer.

Id. at *11 (emphasis added).

     On April 22, 2020, the FRBNY informed BSJI that the FRBNY

would restore BSJI’s access to the Master Account in a phased

approach. Id. ¶ 88. Specifically, the FRBNY informed BSJI that

the “FRBNY will consider providing BSJI with broader access to

Federal Reserve financial services if FRBNY is satisfied that

BSJI is in full compliance with the requirements of the

Handbook.” Id. BSJI started taking the requested steps,

including by hiring two independent consulting firms, K2 and

Chain Bridge Partners LLC. Id. ¶ 89.

     On May 8, 2020, BSJI submitted the first set of documents

required by the Handbook and the first phase of the FRBNY’s

account-restoration plan. Id. ¶ 90. Over the next seven months,

BSJI also engaged AML RightSource (“RightSource”), a fourth

independent consultant, to perform an independent audit review

of BSJI’s BSA, AML, and Office of Foreign Assets Control

(“OFAC”) compliance programs for the upcoming period from

October 1, 2020 to September 30, 2021. Id.


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     By December 3, 2020, BSJI completed the phase-one

requirements imposed by the FRBNY’s restoration plan. Id. ¶ 91.

Accordingly, the FRBNY restored BSJI’s Master Account and

“unrestricted access to the Fedwire Securities Service”

effective December 14, 2020. Id. BSJI claims that by the end of

this account-suspension period lasting twenty-two months, BSJI

transformed its compliance programs and governance structure

into a “top-tier system beyond that of its immediate peer

group.” Id. ¶¶ 92–93.

                        2. BSJI’s Noncompliance

     In 2021, as the COVID-19 pandemic continued, the FRBNY

provided K2 and BSJI with accommodations for several filing

deadlines. Id. ¶ 97. In June 2021, pursuant to the revised

deadlines, K2 produced to the FRBNY three BSA, AML, and OFAC

reports. Id.

     The 2021 accomodated deadlines allegedly caused some

confusion at BSJI with respect to the filing deadline for the

next set of annual submissions. Id. ¶¶ 98–99. BSJI sought

clarification from the FRBNY; the FRBNY did not respond to two

emails. Id. ¶¶ 100–04.

     On July 18, 2022, the FRBNY notified BSJI that BSJI had

breached the Supplemental Terms by failing to submit on time

three required assessments attesting to the effectiveness of its

compliance programs. Brennan Decl., Ex. D at *2, ECF No. 132-4.

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The FRBNY explained, “Consistent with the [FRBNY’s] practices of

assessing, managing, and mitigating risk under the Handbook . .

. we have concluded BSJI poses undue risk to the [FRBNY] due to,

among other things, this noncompliance.” Id. Accordingly, the

FRBNY informed BSJI that it would close BSJI’s Master Account in

September 2022. AC ¶ 107.

     BSJI responded on July 19, 2022, pointing out that it had

twice requested guidance on the missed deadlines, and clarified

that BSJI was preparing the required reports. Id. ¶ 109. On

September 15, 2022, BSJI sent the FRBNY a letter enclosing two

of BSJI’s three past-due annual assessment reports and stating

that the third would be submitted the following week. Brennan

Decl., Ex. E at *2, ECF No. 132-5. On September 19, 2022, the

FRBNY suspended closure, purportedly to review BSJI’s past-due

reports. Id. at *2–3; see also AC ¶ 115.

     On January 25, 2023, BSJI sent two letters to the FRBNY

describing its efforts at compliance and seeking a meeting. Id.

¶ 118. The FRBNY did not respond to either of BSJI’s January 25,

2023 letters. Id.

                    3. S-2677 & Account Closure

     Meanwhile, in January 2023, the Board issued “S-2677,” a

guidance memorandum directing the Federal Reserve banks to

scrutinize heavily Tier 3 institutions like BSJI because such

institutions inherently present “high risk.” Id. ¶ 120. Around

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the same time, the Reserve Bank Accounts and Services Function

(“RBAS”), the FRBNY’s “first line of defense,” requested that

the Compliance Function (“Compliance”), the FRBNY’s “second line

of defense,” provide its views on the compliance risks posed by

BSJI. Brennan Decl., Ex. F at 1, ECF No. 134-6.

     On March 31, 2023, Compliance provided a thorough report on

BSJI’s compliance risks, including a review of BSJI’s compliance

reports and the observations by K2, BSJI’s consultant. See id.

In the report, Compliance noted that BSJI did not file any

Suspicious Activity Reports on any transaction activity reviewed

by K2, id. at 6, which was particularly concerning given: (1)

the “large inflows from shell companies in high-risk

jurisdictions, owned by related parties of BSJI’s owners,” id.

at 12; (2) inconsistent documentation regarding large payments

to various individuals, id. at 14–16; (3) missing account

information, id.; and (4) BSJI's failure to provide an

explanation for suspicious wire transfers, id. at 15.

     Compliance ultimately determined that BSJI posed undue risk

under Principle 5 of the Board’s Guidelines and that this risk

could not be effectively mitigated with additional controls. Id.

at 16–17. After reviewing transactions among BSJI’s owner’s

family members, id. at 12-17, BSJI’s responses, id. at 11, and

inconsistencies in reporting transactions, id. at 12, Compliance

concluded as follows:

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          Given the programmatic weaknesses in BSJI’s
          compliance program, as evidenced by the
          serious and persistent issues identified in
          K2’s reports, the significant number of red
          flags   identified   in  BSJI’s   transaction
          activity, and the high concentration of
          suspicious transactions with parties related
          to BSJI, Compliance does not believe that
          additional controls would be an effective way
          of managing the undue risk posed by BSJI.

Id. at 16–17.

     On April 6, 2023, the FRBNY informed the Board that it

intended to close BSJI’s Master Account and submitted two pre-

decisional memoranda describing the FRBNY’s reasons for the

intended account closure. AC ¶ 155. On April 12, 2023, having

reviewed the FRBNY’s pre-decisional analyses of BSJI’s existing

access, the Board advised the FRBNY: “We have no concerns with

the Reserve Bank’s application of the Guidelines to BSJI’s

[access] and with it moving forward with its intended action to

terminate BSJI’s access based on this analysis.” Brennan P.I.

Decl., Ex. 20 at *2, ECF No. 52-20; see also AC ¶ 156. BSJI

alleges that other entities, including BSJI’s paid consultants,

reached different conclusions with respect to BSJI. See AC ¶¶

124–32.

     On June 20, 2023, BSJI and the FRBNY held a conference

call. Id. ¶ 140. During the call, the FRBNY provided an

additional rationale for account closure: BSJI had processed

transactions involving related-party shell companies in high-


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risk jurisdictions. Id. A week later, on June 27, 2023, BSJI

responded by letter, stating that none of BSJI’s accounts

involve shell companies, and that due to BSJI’s enhanced due

diligence, BSJI knows and understands each of its customers’

businesses. Id.

     On June 30, 2023, the FRBNY informed BSJI that the FRBNY

was moving forward with closing BSJI’s Master Account on July

31, 2023. Id. ¶ 142. The FRBNY explained that it had reviewed

BSJI’s June 27, 2023 letter as well as prior communications,

including the June 20, 2023 telephone call, but was unpersuaded.

Brennan Decl., Ex. H at *2–3, ECF No. 132-8. The FRBNY explained

that during the telephone call:

          [The FRBNY] provided a detailed explanation of
          our significant AML concerns related to BSJI's
          transaction    activity.    We    noted    our
          observations that much of BSJI’s transaction
          activity consists of the rapid movement of
          funds on behalf of high-risk entities located
          in high-risk jurisdictions that are controlled
          by close relatives of BSJI’s owner . . . .
          These transactions often lack a clear business
          purpose and in some instances are suggestive
          of layering. We further detailed during our
          call that . . . [BSJI’s customers] engage in
          high-risk transaction typologies associated
          with illicit activity.

Id. The FRBNY told BSJI that the FRBNY would consider extending

the closure date if BSJI needed time to wind down its account

use, id. at *3, which would provide BSJI with an opportunity to

seek a correspondent commercial banking relationship to continue


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operations. The FRBNY requested that BSJI make any such

extension request by July 6, 2023. Id. at *4.

                        C. Procedural History

     Instead of seeking an extension, BSJI brought this action

on July 25, 2023, six days before the scheduled account-closure

date. ECF No. 1. On October 24, 2023, this Court denied BSJI’s

motion for a preliminary injunction. ECF No. 106. The Court

assumes familiarity with the October 24, 2023 Memorandum Opinion

& Order denying the plaintiff’s request for a preliminary

injunction and the procedural history leading up to that

decision. See Banco San Juan Internacional, Inc. v. The Fed.

Reserve Bank of New York, 700 F. Supp. 3d 86 (2023) (“BSJI I”),

ECF No. 106.

     On October 30, 2023, BSJI filed an interlocutory appeal,

ECF No. 107, which it later moved to withdraw. On February 12,

2024, the Second Circuit Court of Appeals granted BSJI leave to

withdraw the interlocutory appeal. ECF No. 115.

     On February 29, 2024, BSJI filed the Amended Complaint, ECF

No. 121, which it corrected on March 7, 2024, ECF No. 124. The

defendants now move to dismiss the Amended Complaint for lack of

subject-matter jurisdiction pursuant to Rule 12(b)(1) and for

failure to state a claim pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure. ECF Nos. 130 & 135. On



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December 12, 2024, the Court heard oral argument on the present

motions. Transcript (“Tr.”), ECF No. 148.

                            II. Legal Standard

                             A. Rule 12(b)(1)

     To prevail against a motion to dismiss for lack of subject-

matter jurisdiction under Rule 12(b)(1), the plaintiff bears the

burden of proving the Court’s jurisdiction by a preponderance of

the evidence. Makarova v. United States, 201 F.3d 110, 113 (2d

Cir. 2000). In considering such a motion, the Court generally

must accept as true the material factual allegations in the

complaint. See J.S. ex rel. N.S. v. Attica Cent. Sch., 386 F.3d

107, 110 (2d Cir. 2004). However, the Court does not draw all

reasonable inferences in the plaintiff’s favor. Id. Indeed,

where jurisdictional facts are disputed, the Court has the power

and the obligation to consider matters outside the pleadings to

determine whether jurisdiction exists. See Kamen v. Am. Tel. &

Tel. Co., 791 F.2d 1006, 1011 (2d Cir. 1986). In so doing, the

Court is guided by that body of decisional law that has

developed under Rule 56. See id.

                             B. Rule 12(b)(6)

     In deciding a Rule 12(b)(6) motion to dismiss for failure

to state a claim, the Court must accept the allegations in the

complaint as true and draw all reasonable inferences in the

plaintiff’s favor. McCarthy v. Dun & Bradstreet Corp., 482 F.3d

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184, 191 (2d Cir. 2007). The Court’s function on a motion to

dismiss is “not to weigh the evidence that might be presented at

a trial but merely to determine whether the complaint itself is

legally sufficient.” Goldman v. Belden, 754 F.2d 1059, 1067 (2d

Cir. 1985).

     To survive a motion to dismiss, the plaintiff’s complaint

must contain “enough facts to state a claim to relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). While the Court should construe the factual allegations

in the light most favorable to the plaintiff, “the tenet that a

court must accept as true all of the allegations contained in a

complaint is inapplicable to legal conclusions.” Id.

     When presented with a motion to dismiss pursuant to Rule

12(b)(6), the Court may consider documents that are referenced

in the complaint, documents that the plaintiff relied on in

bringing suit and that are either in the plaintiff’s possession

or that the plaintiff knew of when bringing suit, or matters of

which judicial notice may be taken. See Chambers v. Time Warner,

Inc., 282 F.3d 147, 153 (2d Cir. 2002).



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                               C. BSJI I

     In BSJI I, this Court concluded that BSJI had not

demonstrated a likelihood of success on its claims. 700 F. Supp.

3d at 98–103. In so concluding, this Court rejected many of the

same arguments that BSJI now raises in opposition to the

defendants’ motions to dismiss. Id.

     The FRBNY argues that BSJI I provides sufficient

justification to dismiss the Amended Complaint. FRBNY’s Mem. of

Law (“FRBNY Br.”) 11, passim, ECF No. 131. But because initial

rulings at the preliminary-injunction stage are tentative by

their nature, courts “in most cases” decline to give binding

effect to such rulings under the law-of-the-case doctrine.

Cayuga Indian Nation of New York v. Seneca Cnty., 978 F.3d 829,

834 (2d Cir. 2020); Irish Lesbian & Gay Org. v. Giuliani, 143

F.3d 638, 644 (2d Cir. 1998). Preliminary-injunction rulings

therefore do not “foreclose[] the subsequent, more thorough

consideration of the merits that the preliminary injunction

expressly envisions.” Goodheart Clothing Co. v. Laura Goodman

Enters., Inc., 962 F.2d 268, 274 (2d Cir. 1992).

     Because a district court’s “legal conclusions . . . are

subject to change after a full hearing and the opportunity for

more mature deliberation,” Hamilton Watch Co. v. Benrus Watch

Co., 206 F.2d 738, 742 (2d Cir. 1953), BSJI I is not binding

under the law-of-the-case doctrine. Accordingly, for purposes of

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the defendants’ present motions to dismiss, the parties’

arguments are considered de novo under the legal standards

applicable at the pleadings stage. However, BSJI I is highly

persuasive authority. See Belbacha v. Bush, 520 F.3d 452, 458

(D.C. Cir. 2008). Decided on a substantially similar factual

record, BSJI I ruled on many issues of pure law with the benefit

of full briefing and oral argument. See Sherley v. Sebelius, 689

F.3d 776, 782 (D.C. Cir. 2012).

                            III. BSJI’s Claims

     BSJI brings the following claims against the FRBNY and the

Board, seeking to have its Master Account and direct access to

Federal Reserve services restored.

     In Counts I through IV, BSJI brings claims under federal

law against both the FRBNY and the Board. Count I challenges the

account-closure decision as allegedly unlawful final agency

action pursuant to the APA’s judicial-review provisions,

codified at 5 U.S.C. §§ 701 et seq. AC ¶¶ 166–73. In particular,

BSJI alleges that section 248a of the FRA provides BSJI with an

unqualified right to a master account, and that in any event,

both defendants acted arbitrarily and capriciously in

terminating BSJI’s Master Account. Id. Count II seeks to compel

the defendants, pursuant to the Mandamus Act, codified at 28

U.S.C. § 1361, “to reinstate BSJI’s master account access and

Federal Reserve services.” AC ¶¶ 174–81. Count III, brought

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pursuant to the Declaratory Judgment Act (“DJA”), codified at 28

U.S.C. § 2201, seeks a declaration that the Master Account

closure violated BSJI’s purported statutory right to a master

account. Id. ¶¶ 182–89. Count IV alleges that both defendants

violated the Due Process Clause of the Fifth Amendment to the

United States Constitution. Id. ¶¶ 190–93.

     In Counts V and VI, BSJI brings claims under New York state

law against the FRBNY only. Count V alleges that by terminating

BSJI’s Master Account, the FRBNY breached a contractual duty of

care imposed by Operating Circular 1. Id. ¶¶ 194–99. Based

largely on the same allegations as Count V, Count VI alleges

that the FRBNY breached an implied covenant of good faith and

fair dealing under New York common law. Id. ¶¶ 200–07.

     Each of BSJI’s claims, and the defendants’ arguments for

dismissing them, are addressed in turn. Because BSJI’s federal-

law claims all concern the FRA, that statute is addressed first.

                    IV. The Federal Reserve Act

     BSJI’s federal-law claims all rely on a faulty premise.

Namely, BSJI contends that the Federal Reserve Act provides BSJI

with an unqualified statutory right to have a master account.

But the FRA provides no such right. Rather, “12 U.S.C. § 342

makes clear that Federal [R]eserve banks are authorized to

maintain Master Accounts, but are not required to do so.” BSJI

I, 700 F. Supp. 3d at 98.

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                                A. Section 342

        Section 13 of the FRA, codified at 12 U.S.C. § 342, governs

master accounts. Appearing in subchapter IX, titled “Powers and

Duties of Federal Reserve Banks,” section 342 provides Federal

Reserve banks with the authority to receive deposits from

nonmembers as well as members of the Federal Reserve system. See

§§ 341–61. Section 342 provides in relevant part: “Any Federal

reserve bank may receive from any of its member banks, or other

depository institutions, and from the United States, deposits of

current funds in lawful money . . . .” § 342 (emphasis added).

Section 342, however, does not require Federal Reserve banks to

grant a master account to any depository institution that seeks

one. Id. Instead, the statute provides that Federal Reserve

banks “may receive” deposits from nonmember depository

institutions, not that they “shall.” Id.5 Section 342 therefore

grants to Federal Reserve banks the discretion to grant, deny,

or close any institution’s master account or request for a

master account. Id.

        This interpretation has endured for over a century. In

1923, the Supreme Court held that “may” as used in section 342

merely “confers authority” to act and does not mean “shall.”

Farmers’ & Merchs.’ Bank of Monroe v. Fed. Reserve Bank of




5   The term “nonmember depository institution” is defined at 12 U.S.C. § 461.

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Richmond, 262 U.S. 649, 662 (1923) (“Farmers’”) (Brandeis, J.)

(construing the right to receive checks for collection). After

Farmers’, Congress in 1980 amended section 342 to allow Federal

Reserve banks to accept deposits from non-member depository

institutions. Depository Institutions Deregulation and Monetary

Control Act of 1980 (“MCA”), Pub. L. 96-221. Congress, however,

did not amend the operative phrase in section 342—“may receive”—

which has existed since 1913. See id. Therefore, the Supreme

Court’s 1923 interpretation of “may receive” remains binding.

Farmers’, 262 U.S. at 662. Just as with checks, id., Federal

Reserve banks “may receive”—but are not required to receive—

“deposits” from “member banks[] or other depository

institutions.” § 342.

     Congress recently reaffirmed this longstanding

interpretation of section 342. On December 23, 2022, the

President signed into law the National Defense Authorization Act

for Fiscal Year 2023 (“NDAA”). NDAA, Pub. Law No. 117-263

(2022). The NDAA amended the FRA by inserting section 11C,

titled “Master Account and Services Database.” Id. tit. LVII, §

5708. This amendment, codified at 12 U.S.C. § 248c, confirmed

that Federal Reserve banks may “reject” applications from

depository institutions. See § 248c(b)(1). The amendment

requires the Board to “create and maintain a public, online, and

searchable database” that includes “a list of every entity that

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submits an access request for a reserve bank master account and

services . . . including whether . . . a request was approved,

rejected, pending, or withdrawn.” Id. (emphasis added).

      Section 248c(b)(1) supports the FRBNY’s position: “an

access request for a reserve bank master account” may be

“rejected” by the Federal Reserve bank processing the request.

Id. Moreover, section 248c(b)(1) does not specify or otherwise

limit the reasons based on which a Federal Reserve bank can

“reject[]” a master account-access request. See id. And by

affirming that section 342 grants broad discretion to Federal

Reserve banks, section 248c(b)(1) also reinforces the FRBNY’s

discretion to terminate master accounts. In sum, pursuant to

section 342 of the FRA, a Federal Reserve bank “may” grant,

deny, or close, in the Federal Reserve bank’s discretion, any

master account.6

                              B. Section 248a

      In response, BSJI contends that section 248a(c)(2) of the

FRA requires Federal Reserve banks to provide master accounts to




6 BSJI argues that this interpretation produces “nonsensical results” by
placing “nonmember depository institutions on par with the United States”
because both are “subject to the FRBNY’s discretion” to accept or reject
deposits. Opp. 14–15. But a different FRA provision, section 391, provides
that the Secretary of the Treasury has the authority to “direct[]” that
Treasury funds “be deposited in Federal reserve banks, which banks, when
required by the Secretary of the Treasury, shall act as fiscal agents of the
United States.” 12 U.S.C. § 391.

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every depository institution that requests such an account.

Section 248a(c)(2) provides in full:

          All Federal Reserve bank services covered by
          the fee schedule shall be available to
          nonmember depository institutions and such
          services shall be priced at the same fee
          schedule applicable to member banks, except
          that nonmembers shall be subject to any other
          terms, including a requirement of balances
          sufficient for clearing purposes, that the
          Board may determine are applicable to member
          banks.

12 U.S.C. § 248a(c)(2).

     BSJI misreads this provision. “Section 248a(c)(2) is

directed to the Board, not Federal [R]eserve banks, and is best

read as a clause preventing price discrimination in favor of

banks that are members of the Federal Reserve System.” BSJI I,

700 F. Supp. 3d at 99. BSJI’s arguments to the contrary,

rejected once in BSJI I, again fail to persuade. No FRA

provision instructs Federal Reserve banks to provide all

available services to all depository institutions while ignoring

any and all risk factors pertaining to individual applicants for

such services. Id.

                            1. The Statute

     Section 248a makes no “reference to Master Accounts, much

less commands the Board to direct the opening of a master

account for every institution that seeks one regardless of

risk.” Id. Section 248a(a) instead instructs the Board to “put


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into effect a schedule of fees for [Federal Reserve bank]

services.” 12 U.S.C. § 248a(a). Section 248a(b) defines the

“[c]overed services” and includes in a catchall provision “any

new services which the Federal Reserve System offers.” §

248a(b), (b)(8). Section 248a(c), titled “Criteria applicable,”

sets forth the “principles” upon which the “schedule of fees

prescribed pursuant to” section 248a “shall be based.” § 248a(c)

(“The schedule of fees prescribed pursuant to this section shall

be based on the following principles:”). Subparagraphs (c)(1)

through (c)(4) enumerate those pricing principles. § 248a(c)(1)–

(4).

       “[P]laced in the context of the entire statutory

structure,” see Nat. Res. Def. Council, Inc. v. Muszynski, 268

F.3d 91, 98 (2d Cir. 2001), section 248a(c)(2) directs only that

the non-discriminatory fee schedule promulgated by the Board be

applied to the services that “shall be available to nonmember

institutions.” See 12 U.S.C. § 248a(c)(2); accord Greater

Buffalo Press, Inc. v. Fed. Reserve Bank of New York, 866 F.2d

38, 40 (2d Cir. 1989) (stating that the FRA made check clearing

services “available to all banks, regardless of whether or not

they were member banks”) (emphasis added). Section 248a(c)(2)

nowhere commands that Federal Reserve bank services “shall be

provided” to all depository institutions regardless of risk.



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     Moreover, a master account can be “available” to an

institution even where a Federal Reserve bank ultimately refuses

to open or maintain a master account for that institution. In

1980, the year Congress enacted section 248a, “available” meant

“[s]uitable; useable; accessible; obtainable; present or ready

for immediate use.” Available, Black’s Law Dictionary (5th ed.

1979). Therefore, in making services “available” pursuant to

section 248a(c)(2), Federal Reserve banks must provide to

nonmembers the opportunity to use, access, or obtain Federal

Reserve bank services. See BSJI I, 700 F. Supp. 3d at 99. But

such availability is sufficient; section 248a does not command

Federal Reserve banks to provide their services to all

depository institutions that apply. See id. at 99–100.

     Section 248a’s placement within the FRA’s statutory

structure corroborates the absence of any such mandate. When

Congress enacted the MCA in 1980, Congress inserted section 248a

into subchapter II of the FRA, codified at 12 U.S.C. §§ 241-52.

The MCA also amended section 342 in subchapter IX of the FRA,

codified at 12 U.S.C. §§ 341–64. Subchapter II—home to section

248a—is titled “Board of Governors of the Federal Reserve

System,” while subchapter IX—home to section 342—is titled

“Powers and Duties of Federal Reserve Banks.” Plainly, Congress

directed section 248a at the Board, and section 342 at Federal

Reserve banks. See Dubin v. United States, 599 U.S. 110, 120–21

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(2023) (finding that titles and headings help resolve “doubt

about the meaning of a statute”).

     Additionally, in modifying the FRA, the MCA inserted

section 248a and also amended section 342. MCA, Pub. L. 96-221.

In amending section 342, Congress allowed—but did not require—

the Federal Reserve banks to accept deposits from nonmember

depository institutions. Id. If Congress sought to require

Federal Reserve banks to provide master accounts to all

depository institutions that requested one, the amended section

342 would so provide. BSJI I, 700 F. Supp. 3d at 100. Section

342, however, “does not even state that the services covered by

the fee schedule shall be available to ‘all nonmember depository

institutions.’” Id. at 99.

     Read together with subchapter II’s title, section 248a

instructs the Board to “put into effect a schedule of fees” for

“Federal Reserve bank services” based on the pricing principles

set forth in section 248a(c). 12 U.S.C. § 248a(a), 248a(c). In

turn, pursuant to the second and third clauses of section

248a(c)(2), any pricing and service terms must not discriminate

between members and nonmembers based on their membership status.

§ 248a(c)(2). Section 248a, however, is wholly silent as to how

Federal Reserve banks should evaluate and process a depository

institution’s initial or continuing request for Federal Reserve

bank services. See § 248a.

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     For master accounts, section 342 supplies that standard.

And section 342 appears where it logically should: in the

subchapter titled “Powers and Duties of Federal Reserve Banks.”

See BSJI I, 700 F. Supp. 3d at 100. Section 248a, directed to

the Board, does not override the principal section dealing with

the Federal Reserve banks’ authority to open, withhold, or close

master accounts: section 342.

     BSJI counters that the NDAA, enacted in 2022, supports

BSJI’s position because section 248c(a)(3) defines “Reserve bank

master account and services” as “an account in which a Federal

reserve bank— (A) receives deposits for an entity . . . ; or (B)

provides any service under section 248a(b) of this title . . .

.” 12 U.S.C. § 248c(a)(3). BSJI emphasizes the reference to

section 248a(b), contending that this reference reflects the

congressional view that section 248a overrides section 342.

     BSJI’s argument fails because section 248a(b), referred to

in the NDAA, merely enumerates “[t]he services which shall be

covered by the schedule of fees” promulgated by the Board. 12

U.S.C. § 248a(b). That fee schedule applies whenever a Federal

Reserve bank provides its services to a depository institution

with a master account. § 248a(c)(2). But section 248a(c)(2) does

not override section 342, the section that addresses access to

master accounts.



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     BSJI also argues that requiring BSJI to rely on

correspondent banking relationships subverts section 248a’s

“equal pricing directive” by “expos[ing] a nonmember to

significant additional costs.” BSJI Ltr. at *2, ECF No. 150. But

BSJI misconstrues section 248a’s “equal pricing directive.”

Master account holders, irrespective of their membership status,

pay the fees set forth in the nondiscriminatory schedule

promulgated by the Board. See 12 U.S.C. § 248a(a), (c)(2). Where

nonmembers are denied a master account, however, nothing in

section 248a prevents correspondent banks from charging fees to

facilitate access. See id.

     Placed in different parts of the FRA, section 248a serves a

different purpose from section 342. Section 248a prevents price

discrimination once the regional Federal Reserve bank grants a

master account to a nonmember. See 12 U.S.C. §§ 248a(c)(2), 342;

Jet Courier Servs., Inc. v. Fed. Reserve Bank of Atlanta, 713

F.2d 1221, 1227 (6th Cir. 1983). But section 248a does not

command Federal Reserve banks “to provide specific services to

nonmember[s].” BSJI I, 700 F. Supp. 3d at 100. Rather, Federal

Reserve banks have the discretion to provide, or not to provide,

Federal Reserve bank services to any depository institution. 12

U.S.C. § 342.




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                              2. Case Law

     In opposition, BSJI again relies on an opinion from Judge

Bacharach of the Court of Appeals for the Tenth Circuit. In his

Fourth Corner opinion, Judge Bacharach opined that section

248a(c)(2) imposes a nondiscretionary duty on Federal Reserve

banks to provide a master account for all depository

institutions. See Fourth Corner Credit Union v. Fed. Reserve

Bank of Kan. City, 861 F.3d 1052, 1064–80 (10th Cir. 2017).

Judge Bacharach’s solo nonprecedential opinion, however, “is

neither controlling (even in the Tenth Circuit), nor

persuasive.” BSJI I, 700 F. Supp. 3d at 100.

     In Fourth Corner, the appellate panel considered the

district court’s dismissal of a complaint filed by the plaintiff

Fourth Corner Credit Union. 861 F.3d at 1053 (Moritz, J.). The

credit union’s complaint sought an injunction directing the

Federal Reserve Bank of Kansas City (“FRBKC”) to open a master

account for the credit union, even though the credit union

sought to provide banking services to marijuana-related

businesses. Id. Before the district court, the credit union

alleged that it would follow the law concerning marijuana-

related businesses. Id. at 1054. But the district court refused

to accept that allegation and granted the FRBKC’s motion to

dismiss. Id. On that record, unable to form consensus, the

appellate panel vacated the district court’s order and remanded

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with instructions to dismiss the complaint without prejudice.

Id. at 1053 (per curiam).

     Each panel member also wrote separately. Judge Moritz would

have affirmed the dismissal with prejudice because, in her view,

the credit union alleged that it “would use the court’s

equitable relief to facilitate illegal activity.” Id. at 1055

(Moritz, J.). Judge Matheson would have vacated the dismissal

and remanded with instructions to dismiss the amended complaint

without prejudice on prudential ripeness grounds. Id. at 1064

(Matheson, J.). Only Judge Bacharach would have decided the

appeal on the merits and then reversed the dismissal of the

amended complaint, finding that Fourth Corner had a statutory

right to a master account pursuant to 12 U.S.C. § 248a(c)(2).

Id. at 1064–80 (Bacharach, J.). For the reasons explained above,

however, Judge Bacharach’s nonprecedential interpretation of

section 248a(c)(2) is unpersuasive.

     Moreover, after Judge Bacharach issued his 2017 opinion,

Congress passed 12 U.S.C. § 248c. Enacted on December 23, 2022,

section 248c(b)(1)(B) explicitly recognizes that Federal Reserve

banks may “reject[]” a depository institution’s “access request

for a reserve bank master account and services.” 12 U.S.C. §

248c(b)(1)(B), (b)(1)(B)(ii). Section 248c therefore confirms

that section 342 (not section 248a) addresses the administration

of master accounts by Federal Reserve banks. And section 342

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“confers authority” on Federal Reserve banks to open, withhold,

or close master accounts. See Farmers’, 262 U.S. at 662; BSJI I,

700 F. Supp. 3d at 100.

     BSJI also relies on Custodia Bank, Inc. v. Fed. Reserve Bd.

of Governors, 640 F. Supp. 3d 1169 (D. Wy. 2022) (“Custodia I”),

but the ultimate decision in that case does not support BSJI’s

position. In that case, the plaintiff claimed that the FRBKC

unreasonably delayed in processing the depository institution’s

application for a master account. 640 F. Supp. 3d at 1178. In

Custodia I, the court denied in large part the motions to

dismiss filed by the FRBKC and the Board. Id. at 1196. In so

ruling, the court found that a “full statutory interpretation

of” the FRA “is better left for another day” after “further

development of [the] facts.” Id. at 1185; see also Custodia

Bank, Inc. v. Fed. Reserve Bd. of Governors, No. 22-cv-125, 2023

WL 11160063, at *3–8 (D. Wy. June 8, 2023) (“Custodia II”)

(denying in large part the motions by the FRBKC and the Board to

dismiss the amended complaint).

     BSJI argues that, like in Custodia I, further factual

development is needed. But BSJI concedes that the merits turn

primarily on the interpretation of sections 342 and 248a. See

BSJI’s Mem. Opp. (“Opp.”) 7, ECF No. 140 (agreeing “that the

merit of BSJI’s Mandamus Act, Declaratory Judgment, and Due

Process claims primarily turns on a matter of statutory

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interpretation”). Statutory interpretation is an issue of law.

United States v. Rood, 281 F.3d 353, 355 (2d Cir. 2002).

     Moreover, at the preliminary-injunction stage, the Court

ordered the FRBNY to provide BSJI with limited discovery. Tr. of

Tel. Conf. 8–9, ECF No. 41. Namely, the FRBNY was ordered to

produce decisional memoranda and relevant communications between

the FRBNY and the Board concerning the FRBNY’s July 2022 and

June 2023 account-closure decisions. Id. BSJI then received

those core decisional documents. ECF Nos. 61, 64, 65. Assisted

by those documents, BSJI has alleged sufficient facts upon which

the legal questions presented in this case can be decided.

     In any case, following discovery, the Custodia Bank court

ultimately concluded that there were “no genuine dispute[s] of

material fact,” denied the plaintiff’s motion for judgment as a

matter of law, and granted the FRBKC’s motion for summary

judgment. Custodia Bank, Inc. v. Fed. Reserve Bd. of Governors,

728 F. Supp. 3d 1227, 1234, 1245–46 (D. Wyom. 2024) (“Custodia

III”), appeal docketed, No. 24-8024 (10th Cir. to be argued Jan.

21, 2025). In Custodia III, after a thorough analysis of the

relevant statutory provisions and legislative history, the court

ultimately concluded: “The plain language of the relevant

statutes can only reasonably be read to give the Federal Reserve




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Banks discretion in granting or denying requests for master

accounts.” Id. at 1245.7

      In sum, nothing in section 248a(c)(2) disturbs the

discretion conferred on Federal Reserve banks pursuant to

section 342. And it is undisputed that the FRBNY made a master

account “available” to BSJI as required by section 248a(c)(2):

BSJI obtained the Master Account in April 2012. Brennan Decl.,

Ex. F at 1–2. But when BSJI’s heightened risk profile and

noncompliance created undue risk, the FRBNY exercised its

discretion and closed BSJI’s Master Account. Brennan Decl., Ex.

H at *2–3. The FRBNY was not required by law to keep BSJI’s

Master Account open. The FRBNY’s account-closure decision thus

did not violate any statutory right provided by the FRA.

                         V. Article III Standing

      At the threshold, the Board argues that BSJI’s claims

against the Board must be dismissed because BSJI lacks Article

III standing to assert such claims. Board’s Mem. of Law (“Bd.

Br.”) 10–13, ECF No. 131. Specifically, the Board contends that

the Amended Complaint fails to plead plausibly causation and

redressability. Id. BSJI responds that it has standing to sue




7 Similarly, in PayServices Bank v. Fed. Reserve Bank of San Francisco, the
court concluded that the Federal Reserve Bank of San Francisco had the
statutory discretion to deny the plaintiff’s request for a master account.
No. 23-cv-305, 2024 WL 1347094, at *6–11 (D. Idaho Mar. 30, 2024), appeal
docketed, No. 24-2355 (9th Cir. argued Dec. 4, 2024).

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the Board, based primarily on its interpretation of the FRA.

Opp. 34–36.

     Article III of the United States Constitution “confines the

federal judicial power to the resolution of ‘Cases’ and

‘Controversies.’” TransUnion LLC v. Ramirez, 594 U.S. 413, 423

(2021). For there to be an Article III case or controversy, the

plaintiff must have standing. Id. Thus, “Article III standing

must be decided before the merits.” All. for Env’t Renewal, Inc.

v. Pyramid Crossgates Co., 436 F.3d 82, 87 (2d Cir. 2006); Steel

Co. v. Citizens for a Better Env’t, 523 U.S. 83, 88–89 (1998).

     The “irreducible constitutional minimum of standing

contains three elements:” (1) “injury in fact,” (2) causation:

“a causal connection between the injury and the conduct

complained of,” and (3) redressability: a likelihood, rather

than speculation, “that the injury will be redressed by a

favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555,

560–61 (1992). At the pleadings stage, because “[t]he plaintiff,

as party invoking federal jurisdiction, bears the burden of

establishing these elements,” Spokeo, Inc. v. Robins, 578 U.S.

330, 338 (2016), “the complaint’s factual allegations of

standing must be plausible and nonconclusory.” Lugo v. City of

Troy, 114 F.4th 80, 87 (2d Cir. 2024). The plaintiff must also

establish standing for each claim brought and “for each form of



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relief that is sought.” See Davis v. Fed. Election Comm’n, 554

U.S. 724, 734 (2008).

                             A. Causation

     BSJI fails to plead causation against the Board. Put

differently, the injury alleged by BSJI is not “fairly traceable

to the challenged action of the” Board. See Lujan, 504 U.S. at

560–61 (quoting Simon v. E. Ky. Welfare Rights Org., 426 U.S.

26, 41–42 (1976)). Rather, based on the facts alleged and

documents incorporated by the Amended Complaint, the only

possible inference is that “the independent action of some third

party”—the FRBNY—caused BSJI’s alleged injury. See Simon, 426

U.S. at 41–42.

     With respect to the statute, under the FRA, “[t]he Board

exercises supervision over reserve banks, but does not have the

statutory authority to receive deposits, open or close Master

Accounts, or perform other banking services.” BSJI I, 700 F.

Supp. 3d at 104 (citing 12 U.S.C. §§ 248(j) & 342). In short,

the Board lacks the statutory authority to close a master

account. See § 248(j) (authorizing and empowering the Board

“[t]o exercise general supervision over [the] Federal reserve

banks”).

     BSJI’s factual allegations support this statutory

conclusion. The Board is alleged to have issued a guidance

memorandum, AC ¶ 120, and advised the FRBNY that the Board

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“ha[s] no concerns” with the FRBNY’s “application of the

Guidelines” and “with its intended action to terminate BSJI’s

access,” Brennan P.I. Decl., Ex. 20 at *2; AC ¶ 156. Having cast

the Board in an advisory role only, BSJI has failed to allege

facts showing that the Board was involved in the FRBNY’s final

account-closure decision.

     Likewise, while a Federal Reserve bank “can terminate [the]

MAA at any time” pursuant to the terms of Operating Circular 1,

“the Board is not a party to the MAA” and therefore lacks the

same power to terminate BSJI’s Master Account. BSJI I, 700 F.

Supp. 3d at 104–05; OC 1. Operating Circular 1 states that

“[e]ach [MAA] is subject to approval by the . . . Reserve Bank,”

OC 1 at 5, and notes that the “Reserve Bank may terminate a

[MAA] . . . at any time,” id. at 7.

     Based on BSJI’s allegations, the Board at most played a

general supervisory role and “advise[d]” the FRBNY. AC ¶¶ 154–

56. Thus, the alleged causal connection depends on how the FRBNY

would have responded to the Board’s approval or rejection of the

FRBNY’s “pre-decisions.” See Simon, 426 U.S. at 40–46. But

because section 342 provides the FRBNY with the ultimate

authority to close BSJI’s Master Account, the FRBNY’s response

is “sufficiently uncertain to break the chain of causation

between the plaintiff[’s] injury and the challenged Government

action.” Allen v. Wright, 468 U.S. 737, 759 (1984). Simply put,

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one cannot be accused of doing what one has no power to do. Cf.

Marino v. Town of Branford, No. 17-cv-1828, 2018 WL 691715, at

*2 (D. Conn. Feb. 2, 2018) (holding that a plaintiff can seek

relief only from “the party with the power to suspend and revoke

the plaintiff's license”). Because BSJI blames the Board for the

FRBNY’s decision to close BSJI’s Master Account, BSJI fails to

allege causation: a fairly traceable link between the Board’s

conduct and the injury alleged. See Allen, 468 U.S. at 757–59.

                            B. Redressability

     BSJI also fails to plead redressability against the Board.

Because the Board lacks any authority to open and maintain a

Master Account for BSJI, or to order the FRBNY to do so, “it is

entirely speculative” whether a court order directed at the

Board would redress BSJI’s alleged injury. See Allen, 468 U.S.

at 758. The redressability requirement prevents judicial

overreach in exactly this kind of scenario. See id. at 759–60

(stating that lawsuits challenging “the particular programs

agencies establish to carry out their legal obligations . . .

are rarely if ever appropriate for federal-court adjudication”);

Town of Babylon v. Fed. Hous. Fin. Agency, 699 F.3d 221, 229–30

(2d Cir. 2012); Coal. of Watershed Towns v. U.S. Env’t Prot.

Agency, 552 F.3d 216, 218 (2d Cir. 2008).

     This is not a case where BSJI seeks to invalidate any of

the decisions that were within the Board’s purview, for example,

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the Board’s promulgation of the Guidelines. Therefore, BSJI has

failed to establish redressability.

                                    * * *

      Without causation and redressability, BSJI lacks Article

III standing to sue the Board. Because “a federal court may

resolve only a real controversy with real impact on real

persons,” TransUnion LLC, 594 U.S. at 424, BSJI’s claims brought

against the Board are dismissed without prejudice for lack of

standing. Carter v. HealthPort Techs., LLC, 822 F.3d 47, 54 (2d

Cir. 2016).8

                         VI. Federal-Law Claims

      Both the Board and the FRBNY argue that BSJI’s APA,

Mandamus Act, and DJA claims fail for lack of subject-matter

jurisdiction. FRBNY Br. 11–17; FRBNY’s Reply (“FRBNY Rep.”) 2–6,

ECF No. 142; Bd. Br. 14–16, 22; Board’s Reply (“Bd. Rep.”) 3–5,

ECF No. 143. The FRBNY also argues that each of BSJI’s federal-

law claims fails on the merits; the Board agrees with respect to

the APA and due process claims. FRBNY Br. 17–20; FRBNY Rep. 6–9;

Bd. Br. 16–22. BSJI disagrees with both defendants, relying on

its interpretation of the FRA. Opp. 17–19; 28–34.




8 The Board’s other jurisdictional arguments are considered as alternative
grounds for dismissal. See Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 584–
85 (1999). For purposes of completeness, the Board’s arguments for dismissal
based on BSJI’s failure to state a claim are also addressed below.

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     Although the Court has subject-matter jurisdiction to

adjudicate this case, see Lyndonville Sav. Bank & Tr. Co. v.

Lussier, 211 F.3d 697, 701 (2d Cir. 2000); 12 U.S.C. § 632,

BSJI’s APA, Mandamus Act, and DJA claims are precluded from

review by statute and thus subject to dismissal for lack of

subject-matter jurisdiction. Moreover, BSJI’s APA and due

process claims warrant dismissal on the merits. Each claim is

addressed in turn.

                             A. APA Claims

     Both defendants argue that the Court lacks subject-matter

jurisdiction over BSJI’s APA claim because master account-

closure decisions are “committed to agency discretion by law.”

FRBNY Br. 11–14; FRBNY Rep. 2–5; Bd. Br. 14–16; Bd. Rep. 3–5.

The FRBNY also asserts that the FRBNY is not an “agency” subject

to judicial review under the APA. FRBNY Br. 11–14. Both

defendants argue, in the alternative, that BSJI’s APA claim

fails on the merits. FRBNY Br. 17–19; FRBNY Rep. 6–8; Bd. Br.

16–21. BSJI counters with the presumption of reviewability,

argues that the FRBNY is an “agency” under the APA, and contends

that BSJI has pled a plausible APA claim. Opp. 28–32.

                 1. Committed to Agency Discretion

     The APA precludes judicial review of “agency action” that

is “committed to agency discretion by law.” 5. U.S.C. §

701(a)(2). This “very narrow exception” applies “in those rare

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instances where statutes are drawn in such broad terms that in a

given case there is no law to apply.” Citizens to Pres. Overton

Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971). Otherwise said,

“review is not to be had if the statute is drawn so that a court

would have no meaningful standard against which to judge the

agency’s exercise of discretion.” Heckler v. Chaney, 470 U.S.

821, 830 (1985). Section 701(a)(2) “expressly foreclose[s]”

judicial review and thus erects a jurisdictional bar. Vela-

Estrada v. Lynch, 817 F.3d 69, 71 (2d Cir. 2016).

     To show that the APA’s judicial-review provisions apply to

a defendant agency, a plaintiff “must specify some statute or

regulation” that meaningfully limits the agency’s discretion.

Lunney v. United States, 319 F.3d 550, 558 (2d Cir. 2003). In

deciding whether section 701(a)(2) applies, courts must

carefully examine “the statute on which the claim of agency

illegality is based.” Webster v. Doe, 486 U.S. 592, 600 (1988).

However, “statutory limitations on judicial review of agency

action should be interpreted narrowly.” Sharkey v. Quarantillo,

541 F.3d 75, 84 (2d Cir. 2008).

     Examining the FRA, Congress has provided “no meaningful

standard against which to judge” both defendants’ “exercise of

discretion.” See Heckler, 470 U.S. at 830.




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                             (a) The FRBNY

     With respect to the FRBNY, section 342 states merely that

Federal Reserve banks “may” receive deposits. 12 U.S.C. § 342.

Therefore, even if the FRBNY is a federal agency, section 342

provides “no meaningful standard” that courts can apply in

reviewing a Federal Reserve bank’s decision to close a

depository institution’s master account. See Farmers’, 262 U.S.

at 662. And BSJI has failed to identify any other FRA provision

that provides a meaningful standard against which to judge the

FRBNY’s decision to close BSJI’s Master Account. The FRA

“therefore forecloses judicial review under the APA.” BSJI I,

700 F. Supp. 3d at 102.

     BSJI responds that the Board’s “regulations . . . and

informal agency guidance” provide courts with a meaningful

standard to apply. See Salazar v. King, 822 F.3d 61, 76 (2d Cir.

2016). But in Salazar, the applicable statute and the agency’s

implementing regulations, using the term “shall,” imposed

nondiscretionary obligations that courts could enforce easily.

Id. at 65. By contrast, in this case, both section 342 and the

relevant Board regulations leave “decisions regarding individual

access requests” to the “discretion of the individual Reserve

Banks.” 87 Fed. Reg. 51106.

     Although “the Board exercises significant supervisory

authority over the Reserve Banks,” McKinley v. Bd. of Governors

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of Fed. Reserve Sys., 647 F.3d 331, 333 (D.C. Cir. 2011), the

relevant Board regulations and guidance documents merely guide—

and do not override—the Federal Reserve banks’ discretion to

close master accounts. Principle 5, which directs Federal

Reserve banks to “not create undue risk to the overall economy,”

87 Fed. Reg 51110, “fairly exudes deference to” the Federal

Reserve banks that are empowered, pursuant to section 342, to

make the final account-closure decision. See Webster, 486 U.S.

at 600. And S-2677, which directs the Federal Reserve banks to

scrutinize heavily Tier 3 institutions like BSJI, leaves

untouched the FRBNY’s discretion to carry out the heavy scrutiny

in any given case. See AC ¶ 120.

       Therefore, BSJI has failed to enunciate any meaningful

standard in the FRA or the Board’s administrative materials

“against which to judge the [FRBNY’s] exercise of discretion.”

Cf. Heckler, 470 U.S. at 830; Hirshfield v. United States, No.

99-cv-1828, 2001 WL 579783, at *15 (S.D.N.Y. May 30, 2001).

Accordingly, the FRBNY’s decision to close BSJI’s Master Account

“is committed to agency discretion by law” and thus

jurisdictionally precluded from review under the APA. 5 U.S.C. §

701.

                             (b) The Board

       BSJI’s APA claim also fails at the threshold against the

Board. As the source of the Board’s purported authority to close

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BSJI’s Master Account, BSJI has identified only the Board’s

power “[t]o exercise general supervision over [the] Federal

reserve banks,” 12 U.S.C. § 248(j). But section 248(j)’s grant

of “general supervis[ory]” authority provides “no meaningful

standard against which to judge the agency’s exercise of

discretion.” Heckler, 470 U.S. at 830. Therefore, to the extent

the Board possesses any discretion to control or override the

FRBNY’s account-closure decisions, that discretion is also

“committed to agency discretion by law.” 5 U.S.C. § 701.

Accordingly, because there is no waiver of “the federal

government’s sovereign immunity,” BSJI’s APA claim against the

Board is also jurisdictionally precluded from review. Lunney,

319 F.3d at 558; Webster, 486 U.S. at 601.

                                2. “Agency”

      Moreover, the FRBNY is not an “agency” subject to APA

review.9 Therefore, with respect to the FRBNY, the “strong

presumption that Congress intends judicial review of

administrative action,” Sharkey, 541 F.3d at 84, does not apply.

See New York v. Atl. States Marine Fisheries Comm’n, 609 F.3d

524, 533 (2d Cir. 2010) (“ASMFC”).

      The APA defines “agency” as “each authority of the

Government of the United States, whether or not it is within or



9 It is undisputed that the Board is “an agency of the United States.” Kraus,
943 F.3d at 604.

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subject to review by another agency.” 5 U.S.C. § 701(b)(1). With

this definition, the APA “confers agency status on any

administrative unit with substantial independent authority in

the exercise of specific functions.” Soucie v. David, 448 F.2d

1067, 1073 (D.C. Cir. 1971). This definition of “agency” is

“restrictive.” ASMFC, 609 F.3d at 531. Simply because “an

organization makes decisions does not always mean that it is a

government agency.” Dong v. Smithsonian Inst., 125 F.3d 877, 881

(D.C. Cir. 1997) (quoting Pub. Citizen Health Rsch. Grp. v.

Dep’t of Health, Educ. & Welfare, 668 F.2d 537, 543 (D.C. Cir.

1981)). Rather, substantial independent authority is “final and

binding” authority. Id.

     In considering whether an entity possesses substantial

independent authority, given “the myriad organizational

arrangements for getting the business of the government done,”

courts must examine “each new arrangement” anew “in its own

context.” Washington Rsch. Project, Inc. v. Dep’t of Health,

Educ., and Welfare, 504 F.2d 238, 246 (D.C. Cir. 1974). Such an

inquiry examines the “structure, function, and mandate” of the

entity. ASMFC, 609 F.3d at 531.

     Starting with structure, like the other Federal Reserve

banks, the FRBNY is a “private corporation.” See Am. Oversight

v. U.S. Dep’t of Health and Hum. Servs., 101 F.4th 909, 921

(D.C. Cir. 2024); 12 U.S.C. § 341 (“[A] Federal reserve bank

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[is] a body corporate . . . .”). When Congress founded “the Fed

in 1913,” the legislature, “following other major advanced

economies, decided to leave governance of money and credit, at

least in part, in private hands.” Kraus, 943 F.3d at 597. In

doing so, Congress went “out of its way to formally separate the

[Federal Reserve banks] from the government.” Id. Accordingly,

Federal Reserve banks “are not part of any executive department

or agency.” Id.; see also U.S. Shipping Bd. Emergency Fleet

Corp. v. W. Union Tel. Co., 275 U.S. 415, 425–26 (1928)

(“Instrumentalities like . . . the federal reserve banks . . .

are not departments of the Government.”); Scott v. Fed. Reserve

Bank of Kansas City, 406 F.3d 532, 535 (8th Cir. 2005) (“The

[FRBKC] is a private, independent entity independently run by

its own board of directors. It is not run by the [Board] or any

other part of the executive branch.”). And this structure has

endured. Even as Congress, during the twentieth century,

“transferred functional ownership and control of the [Federal

Reserve banks] to the Treasury and to the Board,” Congress

“considered the status of the [Federal Reserve banks] on

multiple occasions and decided not to convert them formally into

government agencies.” Kraus, 943 F.3d at 598.

     Function and mandate reinforce that the FRBNY is not an

agency under the APA. “The individual Federal Reserve Banks,”

including the FRBNY, “serve as the foundation for the Federal

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Reserve System.” Fasano v. Fed. Reserve Bank of N.Y., 457 F.3d

274, 277–78 (3d Cir. 2006). As such, “[t]he individual Federal

Reserve Banks carry out the monetary policy . . . formulated” by

the FOMC. Id. In so doing, Federal Reserve banks work together

with the Board “to assist in achieving national economic goals

through [the Reserve System’s] influence on the availability and

cost of bank reserves, bank credit, and money.” Reuss v. Balles,

584 F.2d 461, 462 (D.C. Cir. 1978).

     In this system, the Board possesses substantial independent

authority. See generally Dong, 125 F.3d at 881–83. The Board’s

powers include the authority to “levy assessments on the Federal

Reserve Banks to pay expenses,” Fasano, 457 F.3d at 278 (citing

12 U.S.C. § 243), “and issue governing regulations,” id. (citing

12 U.S.C. § 248-1). By contrast, Federal Reserve banks do not

“have the authority to promulgate regulations with the force and

effect of law.” Kraus, 943 F.3d at 597 (citing Scott, 406 F.3d

at 536 & 12 U.S.C. § 248(k)). Instead, the directors of the

Federal Reserve banks “perform the duties usually appertaining

to the office of directors of banking associations.” 12 U.S.C. §

301. By functioning this way, Federal Reserve banks realize

“Congress’s goal of insulating them from political pressure.”

Fasano, 457 F.3d at 277.

     In the master-account context, Federal Reserve banks are

empowered to make discretionary decisions that further national

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economic goals, such as avoiding “undue risk to the overall

economy by facilitating activities such as money laundering.” 87

Fed. Reg. 51109. But unlike the Board, which makes “final and

binding” decisions concerning the nation’s economic and monetary

policies, see Dong, 125 F.3d at 881, Federal Reserve banks make

banking decisions as private corporations that are “formally

separate” from the “sovereign” government, see Kraus, 943 F.3d

at 597. Therefore, the FRBNY’s authority to make such banking

decisions, including decisions with respect to master accounts,

does not render the FRBNY a government agency under the APA. See

Dong, 125 F.3d at 881; Pub. Citizen Health Rsch. Grp., 668 F.2d

at 543.

     Likewise, the Board’s oversight of the Federal Reserve

banks differs in kind from the type of government control that

can confer agency status on the controlled entity under the APA.

See Forsham v. Harris, 445 U.S. 169, 180 n.11 (1980). The

Board’s regulations and policy statements “do not impose the

detailed and day-to-day supervision which would make the

[Federal Reserve banks] government agencies.” Cf. Pub. Citizen

Health Rsch. Grp., 668 F.2d at 544. This is by design: “Congress

did not intend to give the federal government direction over the

daily operation of the Reserve Banks.” Lewis v. United States,

680 F.2d 1239, 1241 (9th Cir. 1982) (citing H.R. Report No. 69,

63 Cong. 1st Sess. 18-19 (1913)). Rather, the Board “loosely

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oversees the Federal Reserve Banks’ operations.” Fasano, 457

F.3d at 278.

     In opposition, BSJI points to two cases where district

courts decided that the relevant Federal Reserve bank was an

“agency” pursuant to the APA: Lee Const. Co. v. Fed. Reserve

Bank of Richmond, 558 F. Supp. 165 (D. Md. 1982), and Flight

Int’l Grp. v. Fed. Reserve Bank of Chicago, 583 F. Supp. 674

(N.D. Ga. 1984), vacated by settlement, 597 F. Supp. 462 (Mem.)

(N.D. Ga. 1984). But Lee and Flight Int’l are neither binding

nor persuasive.

     Both the Lee and Flight Int’l courts overlooked Congress’s

decision to “formally separate” Federal Reserve banks from the

federal government, Kraus, 943 F.3d at 597, with the aim of

“insulating them from political pressure,” Fasano, 457 F.3d at

277. Moreover, both the Lee and Flight Int’l courts applied the

Soucie test without the benefit of clarifying cases such as

Dong, 125 F.3d at 881–83, and ASMFC, 609 F.3d at 531. These

later cases clarified that the APA’s definition of “agency” is

“restrictive,” ASMFC, 609 F.3d at 531, and that simply because

“an organization makes decisions does not always mean that it is

a government agency,” Dong, 125 F.3d at 881.

     More recently, considering the Federal Reserve banks’

structure, function, and mandate in other contexts, the Second

Circuit Court of Appeals has held that Federal Reserve banks are

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federal instrumentalities, not federal agencies. See Kraus, 943

F.3d at 597–98 (under the False Claims Act); Starr Int’l Co.,

Inc. v. Fed. Reserve Bank of New York, 742 F.3d 37, 40–41 (2d

Cir. 2014) (in emergency lending). And in a case before the D.C.

Circuit Court of Appeals involving the Freedom of Information

Act, which incorporates the APA’s general definition of

“agency,” the Board conceded against interest “that the Federal

Reserve Banks, including the FRBNY, are not federal agencies.”

McKinley, 647 F.3d at 336.

      In sum, the FRBNY’s “structure, function, and mandate,”

ASMFC, 609 F.3d at 531, all support the conclusion that the

FRBNY is a private corporation formally separated from the

federal government that does not wield any “authority of the

Government of the United States,” 5 U.S.C. § 701(b)(1); accord

PayServices Bank, 2024 WL 1347094, at *11–13. Because the FRBNY

is not an “agency” within the meaning of 5 U.S.C. § 701(b)(1),

BSJI’s APA claim against the FRBNY must be dismissed for lack of

subject-matter jurisdiction.

                                 3. Merits

      BSJI’s APA claim also fails on the merits against both

defendants.10 Pursuant to section 706(2) of the APA, courts must

“hold unlawful and set aside agency action[s]” that are


10To the extent that BSJI’s claims against the defendants must be dismissed
for lack of jurisdiction, the defendants’ arguments that such claims should
be dismissed on the merits are considered for purposes of completeness.

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“arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law,” “contrary to constitutional right,

power, privilege, or immunity,” or “unsupported by substantial

evidence.” 5 U.S.C. § 706(2)(A)–(B), (E). However, in doing so,

“a court is not to substitute its judgment for that of the

agency.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (“State Farm”).

Where the “agency examines the relevant [information] and has

set out a satisfactory explanation including a rational

connection between the facts found and the choice made, a

reviewing court will uphold the agency action.” Karpova v. Snow,

497 F.3d 262, 268 (2d Cir. 2007).

                             (a) The FRBNY

     The FRBNY’s conclusions regarding BSJI “were plainly

reached after a thorough review of the evidence and pertinent

factors.” BSJI I, 700 F. Supp. 3d at 103. First, both RBAS and

Compliance provided views on the risks posed by BSJI. Brennan

Decl., Ex. F. Second, the FRBNY sought the Board’s auxiliary

opinion. AC ¶¶ 155–56. And third, the FRBNY reviewed BSJI’s

submissions. See Brennan Decl., Ex. H at *2–3. The FRBNY then

provided to BSJI detailed reasons for closing BSJI’s Master

Account. Id. In short, the FRBNY “examine[d] the relevant data”

and “set out a satisfactory explanation including a rational

connection between the facts found and the choice made” to close

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BSJI’s Master Account, namely, undue risk. See Karpova, 497 F.3d

at 268.

     That BSJI’s paid consultants detected no issues with BSJI’s

compliance programs, AC ¶¶ 124–28, does not render plausible

BSJI’s assertion that the FRBNY acted arbitrarily and

capriciously or otherwise not in accordance with law. And BSJI’s

bald assertion that the FRBNY conspired with the Board “to

deprive novel bank charters of master accounts,” See id. ¶¶ 121–

22, is not supported by the nonconclusory facts asserted in and

documents incorporated by the Amended Complaint. The Court’s

duty to accept as true BSJI’s allegations and to draw all

reasonable inferences in BSJI’s favor, McCarthy, 482 F.3d at

191, does not extend to claims that lack facial plausibility.

Iqbal, 556 U.S. at 678.

     Where the agency bases its decision “on a consideration of

the relevant factors and whe[re] there has been [no] clear error

of judgment, . . . [t]he court is not empowered to substitute

its judgment for that of the agency.” Citizens to Pres. Overton

Park, 401 U.S. at 416. Nothing in the Amended Complaint

plausibly suggests that the FRBNY failed to provide an adequate

basis for the account-closure decision or committed a clear

error of judgment. Rather, the FRBNY considered the relevant

factors, including BSJI’s noncompliance, and exercised its



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statutory discretion to close BSJI’s Master Account. BSJI’s APA

claim against the FRBNY must also be dismissed for this reason.

                             (b) The Board

     The thrust of the Board’s argument for dismissing BSJI’s

APA claim on the merits is that section 342 of the FRA provides

the FRBNY with discretion to act, not the Board. Bd. Br. 16–21.

In short, the Board’s argument is that no APA claim properly

lies against the Board. Id.

     The Board’s statutory argument is fatal to BSJI’s APA claim

against the Board. “The APA authorizes only a challenge to a

final action of an agency.” Lunney, 319 F.3d at 554 (citing 5

U.S.C. §§ 701(a), 704). An agency’s decision is not final when

it is “tentative” and does not “complete[] [the] decisionmaking

process.” See Franklin v. Mass., 505 U.S. 788, 796–97 (1992). In

this case, as provided by section 342 of the FRA, the FRBNY made

the final decision to close BSJI’s Master Account, not the

Board. Accordingly, BSJI’s APA claim against the Board merits

dismissal for failure to identify any final agency action made

by the Board. See Franklin, 505 U.S. at 796–97; John Doe, Inc.

v. Drug Enf’t Admin., 484 F.3d 561, 565 (D.C. Cir. 2007); accord

Custodia III, 728 F. Supp. 3d at 1235–37. Therefore, in any

event, BSJI’s APA claims against both defendants should be

dismissed for failure to state a claim.



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                       B. Mandamus Act Claims

     Both defendants argue that BSJI’s Mandamus Act claims

should be dismissed for lack of subject-matter jurisdiction.

FRBNY Br. 15–16; Board Br. 21. BSJI disagrees, asserting that it

has adequately pleaded its Mandamus Act claims. Opp. 17.

     Pursuant to the Mandamus Act, district courts “have

original jurisdiction of any action in the nature of mandamus to

compel an officer or employee of the United States or any agency

thereof to perform a duty owed to the plaintiff.” 28 U.S.C. §

1361. To obtain relief in the nature of mandamus, a plaintiff

must show that: “[1] there is a clear right to the relief

sought; [2] the Government has a plainly defined and peremptory

duty to perform the act in question; and [3] there is no other

adequate remedy available.” Benzman v. Whitman, 523 F.3d 119,

133 (2d Cir. 2008). These requirements, however, are not

elements of a cause of action; rather, these “three threshold

requirements are jurisdictional.” See Am. Hosp. Ass’n v.

Burwell, 812 F.3d 183, 189 (D.C. Cir. 2016); Duamutef v. Immigr.

& Nat’y Serv., 386 F.3d 172, 180 (2d Cir. 2004); Sprecher v.

Graber, 716 F.2d 968, 973 (2d Cir. 1983).

     At the threshold, the FRBNY argues that it is not an

“agency” of the United States, a statutory prerequisite for

mandamus jurisdiction. The Mandamus Act, enacted in 1962,

contains no definitions. See 28 U.S.C. § 1361. Because “28

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U.S.C. § 451 provides the definitions for Title 28,” that

general provision supplies the definition of “agency” under the

Mandamus Act. Cf. Cohen v. Empire Blue Cross and Blue Shield,

176 F.3d 35, 42 (2d Cir. 1999); Emery Worldwide Airlines, Inc.

v. United States, 264 F.3d 1071, 1080 (Fed. Cir. 2001). Section

451, enacted in 1948, defines “agency” in relevant part to

include “any corporation in which the United States has a

proprietary interest.” 28 U.S.C. § 451. In 1948, “proprietary”

meant “[b]elonging to ownership” where, in turn, “ownership”

meant “complete dominion, title, or proprietary right.”

Proprietary, Ownership, Black’s Law Dictionary (4th ed. 1951).

      Applying these definitions to the FRBNY, the FRBNY is not

an “agency” under section 451. A Federal Reserve bank “is owned

solely by commercial banks within its district;” the “United

States does not own stock in” Federal Reserve banks. Scott, 406

F.3d at 535 (citing 12 U.S.C. §§ 282, 287, 341). The United

States therefore does not have a “proprietary interest” in the

FRBNY. Cf. Scott, 406 F.3d at 535–38; In re Hoag Ranches, 846

F.2d 1225, 1227–29 (9th Cir. 1988). Accordingly, the FRBNY is

not an “agency” under the Mandamus Act. 28 U.S.C. § 451.11 Hence,




11Although “§ 451 is not an all-embracing definition,” Acron Invs., Inc. v.
Fed. Sav. & Loan Ins. Corp., 363 F.2d 236, 239 (9th Cir. 1966), “a law’s
terms are best understood by the company they keep.” United States v. Taylor,
596 U.S. 845, 856 (2022).

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there is no jurisdiction to grant BSJI’s request for relief

against the FRBNY pursuant to the Mandamus Act.

     In any event, BSJI’s Mandamus Act claim fails against both

defendants because there is no clear right to the relief sought

by BSJI. See Sprecher, 716 F.2d at 973. Section 248a of the FRA

does not impose a duty on the FRBNY to open and maintain a

master account for any depository institution that requests such

an account. Rather, master account-closure decisions are

committed to the discretion of Federal Reserve banks pursuant to

section 342. Because the action that BSJI seeks to compel from

the defendants is not subject to “positive command, plainly

described, and free from doubt, . . . the Mandamus Act does not

confer jurisdiction upon this [C]ourt.” Keane v. Chertoff, 419

F. Supp. 2d 597, 599 (S.D.N.Y. 2006).

     Under the Mandamus Act, jurisdiction “is limited to actions

seeking to compel the performance of a nondiscretionary duty.”

Duamutef, 386 F.3d at 180 (emphasis in original). Because the

FRA does not impose a nondiscretionary duty on either defendant

to maintain a master account for BSJI, the Court lacks the

“power to adjudicate” BSJI’s claim to relief in the nature of

mandamus. See Steel Co., 523 U.S. at 89. Accordingly, BSJI’s

Mandamus Act claims against both defendants must be dismissed

for lack of subject-matter jurisdiction.



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                             C. DJA Claims

     The defendants also argue that the Court lacks subject-

matter jurisdiction over BSJI’s DJA claims because neither the

DJA nor the FRA provides BSJI with a private right of action.

FRBNY Br. 16–17; FRBNY Rep. 5–6; Bd. Br. 22. BSJI disagrees,

asserting that BSJI has adequately alleged a DJA claim pursuant

to the Mandamus Act and the APA. Opp. 18–19.

     Pursuant to the DJA, federal courts may “declare the rights

and other legal relations of any interested party seeking such

declaration, whether or not further relief is or could be

sought.” 28 U.S.C. § 2201(a). But “the operation of the [DJA] is

procedural only.” Aetna Life Ins. Co. v. Haworth, 300 U.S. 227,

240 (1937). By enacting the DJA, “Congress enlarged the range of

remedies available in the federal courts but did not extend

their jurisdiction.” Skelly Oil Co. v. Phillips Petrol. Co., 339

U.S. 667, 671 (1950). Thus, where the substantive statute at

issue does not provide a cause of action, “the DJA cannot expand

the statute’s authority by doing so.” Chevron Corp. v. Naranjo,

667 F.3d 232, 245 (2d Cir. 2012). Moreover, district courts

retain broad discretion to decline jurisdiction under the DJA.

Sunvestment Energy Grp. v. Nat. Grid USA Servs. Co., 116 F.4th

106, 114 (2d Cir. 2024); Wilton v. Seven Falls Co., 515 U.S.

277, 287–89 (1995).



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     BSJI seeks the declaration of a “substantive claim of

right” purportedly found in section 248a(c)(2) of the FRA. Cf.

In re Joint E. & S. Dist. Asbestos Litig., 14 F.3d 726, 731 (2d

Cir. 1993). But because the DJA provides only a remedy, BSJI may

seek a declaration under the FRA only “if there is a private

cause of action under that statute.” Cf. Johnson v. JPMorgan

Chase Bank, 488 F. Supp. 3d 144, 157 (S.D.N.Y. 2020); see also

United States v. Doherty, 786 F.2d 491, 498–99 (2d Cir. 1986)

(discussing the DJA’s purpose). And the FRA does not afford BSJI

a private right of action. PayServices Bank, 2024 WL 1347094, at

*6; accord Scriven v. Barnum, No. 24-cv-1805, 2024 WL 1769318,

at *1 (E.D.N.Y. Apr. 24, 2024) (finding that “there is no

private right of action under the Federal Reserve Act”); but see

White v. Keely, 814 F.3d 883, 888 (7th Cir. 2016) (interpreting

12 U.S.C. § 503 as creating a limited private right of action to

sue directors and officers of member banks). Indeed, with

respect to its DJA claims, BSJI “do[es] not even argue that

there exists an implied cause of action under the [FRA].” Cf.

Johnson, 488 F. Supp. 3d at 157; see also Alexander v. Sandoval,

532 U.S. 275, 286 (2001) (instructing courts to determine

whether statutes provide “not just a private right but also a

private remedy”).

     The lack of any applicable private right of action under

the FRA requires dismissal of BSJI’s DJA claims. Chevron Corp.,

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667 F.3d at 245; Johnson, 488 F. Supp. 3d at 157. And because

BSJI seeks the declaration of a nonexistent right pursuant to a

nonexistent right of action, BSJI’s DJA claims are properly

dismissed for lack of jurisdiction rather than for failure to

state a claim. See Wan Shih Hsieh v. Kiley, 569 F.2d 1179, 1181–

82 (2d Cir. 1978).

     Recognizing that the DJA “is not an independent source of

federal jurisdiction,” Schilling v. Rogers, 363 U.S. 666, 677

(1960), BSJI purports to bring its DJA claims pursuant to the

APA and the Mandamus Act. But “[t]he APA is not an independent

grant of subject matter jurisdiction.” Lunney, 319 F.3d at 557.

And for the reasons explained above, the Mandamus Act does not

confer subject-matter jurisdiction in this case. Moreover,

neither statute provides a cause of action that would permit

BSJI to seek a declaration of BSJI’s rights under section

248a(c)(2) of the FRA. In short, BSJI cannot use those statutes

to bootstrap its request for a declaration. See Keane, 419 F.

Supp. 2d at 599.

     In sum, because the FRA does not provide BSJI with a

private right of action, PayServices Bank, 2024 WL 1347094, at

*6, and BSJI has failed to identify any other “statutory

authorization or mandate from Congress” to review the account-

closure decision, cf. Wan Shih Hsieh, 569 F.2d at 1181–82,



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BSJI’s DJA claims must be dismissed for lack of subject-matter

jurisdiction.

                          D. Due Process Claim

      In Count IV, BSJI’s sole remaining federal-law claim, BSJI

alleges that the defendants violated the Due Process Clause of

the Fifth Amendment by, among other things, failing to provide

“a meaningful opportunity to be heard[] before terminating

[BSJI’s] master account.” AC ¶¶ 190–93. The FRBNY and the Board

argue that Count IV should be dismissed for failure to state a

claim. FRBNY Br. 17, 19–20; FRBNY Rep. 6–8; Bd. Br. 22; Defs’

Ltr., ECF No. 151. Relying again on section 248a, BSJI opposes

dismissal. Opp. 17–18; BSJI Ltr. *1–2.

      “The Due Process Clause of the Fifth Amendment prohibits

the United States . . . from depriving any person of property

without due process of law.” Dusenbery v. United States, 534

U.S. 161, 167 (2002). Generally, “individuals whose property

interests are at stake are entitled to “notice and an

opportunity to be heard.” Id. (citing United States v. James

Daniel Good Real Prop., 510 U.S. 43, 48 (1993)).

      BSJI’s due process claim fails for two reasons: (1) BSJI

fails to allege a valid cause of action; and (2) BSJI had no

property interest in a master account.12



12The parties have not raised the argument whether the Fifth Amendment’s
strictures apply to the FRBNY, a federal instrumentality.

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                        1. No Cause of Action

     Liberally construing BSJI’s opposition and supplemental

briefs, BSJI purports to bring its due process claim pursuant to

an implied right of action found in section 248a of the FRA, or

in the alternative, requests the creation of a remedy by

extending Bivens v. Six Unknown Named Agents of Fed. Bureau of

Narcotics, 403 U.S. 388 (1971). Opp. 17; BSJI Ltr. *1. Both

attempts to identify a valid cause of action fail.

     With respect to the FRA, “Congress has specified that

federal reserve banks such as FRBNY may be sued . . . .” Starr

Int’l Co., 742 F.3d at 40 (citing 12 U.S.C. § 341). Mere

authorization to be sued, however, does not create a cause of

action. See Osborn v. Bank of the U.S., 22 U.S. 738, 823 (1824).

And in interpreting statutes, “courts must refrain from creating

a cause of action whenever there is even a single sound reason

to defer to Congress.” Nestlé USA, Inc. v. Doe, 593 U.S. 628,

635 (2021). In this case, because section 248a does not create

an unqualified right to a master account, the section does not

provide an implied right of action. Indeed, section 248a does

not even suggest what the elements of such a cause of action

might be.

     With respect to Bivens, “the purpose of Bivens is to deter

the officer.” Fed. Deposit Ins. Corp. v. Meyer, 510 U.S. 471,

485 (1994) (emphasis in original). Therefore, to allow a Bivens

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claim against federal agencies or instrumentalities, rather than

individual federal officers, “would mean the evisceration of the

Bivens remedy, rather than its extension.” Corr. Servs. Corp. v.

Malesko, 534 U.S. 61, 69–70 (2001). Accordingly, an extension of

Bivens is unwarranted in this case.13

      In sum, BSJI has failed to identify a valid cause of action

to sue for alleged violations of the Due Process Clause of the

Fifth Amendment. BSJI’s due process claims against both

defendants therefore merit dismissal for failure to state a

claim. See Lyndonville Sav. Bank & Tr. Co., 211 F.3d at 701.

                         2. No Property Interest

      Moreover, BSJI has failed to identify any property interest

protected by the due process clause. Protected property

interests include government benefits to which qualified persons

are entitled by statute. See, e.g., Goldberg v. Kelly, 397 U.S.

254, 262 (1970). “To have a property interest in a benefit,”

however, a person must “have a legitimate claim of entitlement

to it” pursuant to “an independent source.” See The Bd. of



13BSJI relies on Nat’l Ass’n of Indus. Bankers v. Weiser, --- F. Supp. 3d ---
-, 2024 WL 3169735, at *6 (D. Colo. June 18, 2024), appeal docketed, No. 24-
1293 (10th Cir. July 22, 2024). But Weiser is inapposite. Weiser addressed 12
U.S.C. § 1831d, a provision of “the Federal Deposit Insurance Act,” not the
Federal Reserve Act. Id. at *1, *6. Moreover, the Weiser court did not, as
BSJI contends, find an implied right of action in section 1831d. Id. at *6.
Rather, the plaintiffs in Weiser raised “a claim in equity under Ex parte
Young, 209 U.S. 123 (1908).” Id. In this case, BSJI has not sued a state
officer, and thus cannot rely on Ex parte Young. See 209 U.S. at 155–56
(holding that federal courts may enjoin state officers from enforcing state
laws in violation of the United States Constitution).

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Regents of State Colls. V. Roth, 408 U.S. 564, 577–78 (1972);

Perry v. Sindermann, 408 U.S. 593, 599–600 (1972).

      In this case, section 248a(c)(2) of the FRA is the only

“independent source” that BSJI has identified as providing BSJI

with a protected property interest. That section, however, does

not provide BSJI with an unqualified right to a master account.

Rather, the FRA vests the FRBNY with discretion to grant, deny,

or close any master account. 12 U.S.C. § 342. And “a benefit is

not a protected entitlement” if “officials may grant or deny it

in their discretion.” Town of Castle Rock v. Gonzales, 545 U.S.

748, 756 (2005). Therefore, BSJI’s due process claim fails to

allege any entitlement to relief.14 Accord PayServices Bank, 2024

WL 1347094, at *14–15. Accordingly, BSJI’s due process claim

against both defendants should be dismissed for failure to state

a claim.

                          VII. State-Law Claims

      BSJI alleges that the FRBNY’s decision to close BSJI’s

Master Account breached both a contractual duty of good care

supplied by Operating Circular 1, AC ¶¶ 194–99, and the implied

covenant of good faith and fair dealing under New York law, id.

¶¶ 200–07. The FRBNY argues that both claims fail to allege a


14It is therefore unnecessary to decide what process would be due if BSJI
possessed a property interest. See Mathews v. Eldridge, 424 U.S. 319, 332
(1976) (“Procedural due process imposes constraints on governmental decisions
which deprive individuals of ‘liberty’ or ‘property’ interests within the
meaning of the Due Process Clause of the Fifth or Fourteenth Amendment.”).

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plausible entitlement to relief. FRBNY Br. 20–22; FRBNY Rep. 8–

9. Because BSJI “specifically agreed that the FRBNY had the

right to terminate” BSJI’s Master Account, BSJI I, 700 F. Supp.

3d at 100, BSJI’s state-law claims fail against the FRBNY.

                              A. The MAA

     BSJI alleges that the MAA, which is governed by New York

law and incorporates Operating Circular 1, imposes upon the

FRBNY a “duty of care.” AC ¶ 196; Opp. 19–22. According to BSJI,

section 7.1 of Operating Circular 1, titled “duty of care,”

imposes liability on the FRBNY for “actual damages incurred by

the Account Holder and proximately caused by the Reserve Bank’s

lack of good faith and failure to exercise ordinary care.” Opp.

19–22.

     BSJI’s argument is without merit. Section 7.1 of Operating

Circular 1 provides:

          [A] Reserve Bank shall be liable only to an
          Account Holder and only for actual damages
          incurred by the Account Holder and
          proximately caused by the Reserve Bank’s
          lack of good faith and failure to exercise
          ordinary care. A Reserve Bank is not liable
          for lost profits, claims by third parties,
          or consequential or incidental damages, even
          if the Reserve Bank has been informed of the
          possibility of such damages.

OC 1 at 14. Read in context, section 7.1 expressly limits the

types of damages that the FRBNY can be held liable for

independent of section 7.1. For example, as the FRBNY noted at


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oral argument, when the FRBNY “messe[s] up check clearing,” the

customer may be able to sue for breach of contract. Tr. 45–46.

In that instance, section 7.1 would limit recovery to “actual

damages incurred” and “proximately caused by the [FRBNY’s] lack

of good faith and failure to exercise ordinary care.” OC 1 at

14. The section therefore limits any duty of care imposed on the

FRBNY independent of the MAA. The section does not, as BSJI

contends, impose upon the FRBNY a generalized duty of care above

and beyond any specific obligation otherwise owed to BSJI.

Indeed, the section goes on to absolve the FRBNY from other

types of damages for which BSJI might sue the FRBNY.

     In any event, section 2.10 of Operating Circular 1 provided

the FRBNY with the unqualified contractual right to close BSJI’s

account “at any time by notice to [BSJI].” OC 1 at 7. Thus, the

MAA provided the FRBNY with the express right to terminate

BSJI’s Master Account “at any time by notice.” Id. Moreover, by

executing the Supplemental Terms, BSJI reconfirmed that “the

Bank may suspend or terminate [BSJI’s] access, . . . close

[BSJI’s] Master Account, [or] impose conditions” related thereto

“at any time by giving written notice to [BSJI].” Brennan Decl.,

Ex. C at *11, *14. “Under New York law, where the parties to a

contract have agreed to a written termination clause,” as the

FRBNY and BSJI did in this case, “it must be enforced as



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written.” Joseph Victori Wines, Inc. v. Vina Santa Carolina

S.A., 933 F. Supp. 347, 352 (S.D.N.Y. 1996).

     In response, BSJI points out that New York law requires the

terminating party to exercise good faith where a contractual

termination right is exercised in the terminating party’s “sole

discretion.” See, e.g., Ahmen Elkoulily, M.D., P.C. v. N.Y.

State Cath. Healthplan, Inc., 61 N.Y.S.3d 83, 87 (App. Div.

2017). But Operating Circular 1 provides the FRBNY with an

unqualified contractual right, see OC 1 at 7, that was

reaffirmed by the Supplemental Terms, Brennan Decl., Ex. C at

*11, *14. Under New York law, where the contract provides an

unqualified termination right, “courts ‘do not ordinarily read

implied limitations into unambiguously worded contractual

provisions designed to protect contracting parties.” In Touch

Concepts, Inc. v. Cellco P’ship, 949 F. Supp. 2d 447, 470

(S.D.N.Y. 2013). Because the MAA permitted the FRBNY to

terminate BSJI’s Master Account “at any time by notice to

[BSJI],” a right reaffirmed by the Supplemental Terms, the FRBNY

did not breach any contractual duty by exercising that express

termination right. Joseph Victori Wines, 933 F. Supp. at 353.

                      B. Implied-Covenant Claim

     BSJI’s implied-covenant claim is duplicative of its breach-

of-contract claim. Gillespie v. St. Regis Residence Club, 343 F.

Supp. 3d 332, 341 (S.D.N.Y. 2018). “New York law . . . does not

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recognize a separate cause of action for breach of the implied

covenant of good faith and fair dealing when a breach of

contract claim, based upon the same facts, is also pled.” Harris

v. Provident Life and Acc. Ins. Co., 310 F.3d 73, 81 (2d Cir.

2002). To survive a motion to dismiss, an implied-covenant claim

must be: (1) “based on allegations different than those

underlying the accompanying breach of contract claim;” In re

Refco Inc. Sec. Litig., 826 F. Supp. 2d 478, 496 (S.D.N.Y.

2011); and (2) the relief sought must be separate from “the

damages allegedly resulting from the breach of contract.” ARI

and Co. v. Regent Int’l Corp., 273 F. Supp. 2d 518, 521–22

(S.D.N.Y. 2003).

     In this case, BSJI’s implied-covenant claim is based on the

same facts underlying its breach-of-contract claim. Compare AC ¶

198 (alleging facts in support of duty-of-care claim) with AC ¶

205 (alleging substantially similar facts in support of implied-

covenant claim). Therefore, BSJI’s implied-covenant claim is

subject to dismissal for failure to state a claim. See

Quintanilla v. WW Int’l, Inc., 541 F. Supp. 3d 331, 352–53

(S.D.N.Y. 2021) (dismissing implied-covenant claim because it

was “duplicative of [the] claim for breach of contract”).

     Moreover, under New York law, “the implied covenant of good

faith cannot create duties that negate explicit rights under a

contract.” LJL 33rd St. Assocs., LLC v. Pitcairn Props. Inc.,

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725 F.3d 184, 195 (2d Cir. 2013); Murphy v. Am. Home Prods.

Corp., 448 N.E.2d 86, 91 (N.Y. 1983). The FRBNY had the

unqualified contractual right to close BSJI’s account “at any

time by notice.” OC 1 at 7. BSJI cannot now invoke the implied

covenant to counteract the unqualified termination provision in

the MAA to which BSJI agreed. Antartica Star I, LP v. Gibbs

Int’l, Inc., 15-cv-2630, 2017 WL 590314, at *6 (S.D.N.Y. Feb.

14, 2017) (dismissing implied-covenant claim where

“sophisticated parties” had agreed to “language [in] the

termination clause” that was “unqualified”). BSJI complains

merely that the FRBNY exercised rights under the MAA; “such

behavior is not actionable.” CIBC Bank & Tr. Co. v. Banco Cent.

do Brasil, 886 F. Supp. 1105, 1118 (S.D.N.Y. 1995). Accordingly,

BSJI’s implied-covenant claim must be dismissed.

                              CONCLUSION

     The Court has considered all of the parties’ arguments. To

the extent not specifically addressed, those arguments are

either moot or without merit. For the foregoing reasons, the

defendants’ motions to dismiss are granted. All of BSJI’s claims

are dismissed without prejudice as discussed above.

     At oral argument, counsel for BSJI indicated that BSJI may

wish to file a second amended complaint. Tr. 16. The time to

file a motion to amend, attaching a copy of the second amended

complaint and explaining how the second amended complaint solves

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